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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

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13-cv-2025 (RMC)

 

 

 
 

 

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Plaintiffs, )
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V. )
)
OCWEN FINANCIAL CORPORATION, )
)
and OCWEN LOAN SERVICING, LLC, )
)
Defendants. )
)
CONSENT JUDGMENT

WHEREAS, Plaintiffs, the Consumer Financial Protection Bureau (the “CFPB” or
“Bureau”), and the States of Alabama, Alaska, Arizona, Arkansas, California, Colorado,

Connecticut, Delaware, Florida, Georgia, Hawaii, Idaho, Illinois, Indiana, Iowa, Kansas,

 

Louisiana, Maine, Maryland, Michigan, Minnesota, Mississippi, Missouri, Montana, Nebraska,
Nevada, New Hampshire, New Jersey, New Mexico, New York, North Carolina, North Dakota,
Ohio, Oregon, Rhode Island, South Carolina, South Dakota, Tennessee, Texas, Utah, Vermont,
Washington, West Virginia, Wisconsin, Wyoming, the Commonwealths of Kentucky,
Massachusetts, Pennsylvania and Virginia, and the District of Columbia (collectively, “Plaintiff
States”) filed their complaint on December 19, 2013, alleging that Ocwen Financial Corporation
and Ocwen Loan Servicing, LLC (collectively, “Defendant” or “Ocwen”’) violated, among other
laws, the Unfair and Deceptive Acts and Practices laws of the Plaintiff States and the Consumer
Financial Protection Act of 2010.

WHEREAS, the parties have agreed to resolve their claims without the need for

litigation;

 

 

 
 

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WHEREAS, Defendant has consented to entry of this Consent Judgment without trial or
adjudication of any issue of fact or law and to waive any appeal if the Consent Judgment is
entered as submitted by the parties;

WHEREAS, Defendant, by entering into this Consent Judgment, does not admit the
allegations of the Complaint other than those facts deemed necessary to the jurisdiction of this
Court;

WHEREAS, the intention of the Consumer Financial Protection Bureau and the States in
effecting this settlement is to remediate harms allegedly resulting from the alleged unlawful

conduct of the Defendant;

 

WHEREAS, the State Mortgage Regulators are entering into a Settlement Agreement and
Consent Order with Ocwen to resolve the findings identified in the course of multi-state and
concurrent independent examinations of Ocwen, as well as examinations of Litton Loan
Servicing, LP and Homeward Residential, Inc., which were subsequently acquired by Ocwen.

AND WHEREAS, Defendant has agreed to waive service of the complaint and summons
and hereby acknowledges the same;

NOW THEREFORE, without trial or adjudication of issue of fact or law, without this
Consent Judgment constituting evidence against Defendant, and upon consent of Defendant, the
Court finds that there is good and sufficient cause to enter this Consent Judgment, and that it is
therefore ORDERED, ADJUDGED, AND DECREED:

1. JURISDICTION

lL. This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331, 1345, and 1367, and under 12 U.S.C. § 5565, and over Defendant. The

 

 

 
 

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Complaint states a claim upon which relief may be granted against Defendant. Venue is
appropriate in this District pursuant to 28 U.S.C. § 1391(b)(2) and 12 U.S.C. § 5564(f).
I. APPLICABILITY

2. Defendant’s obligations as set forth in this Consent Judgment and the attached
Exhibits shall apply equally and fully to Defendant regardless of whether Defendant is servicing
residential mortgages as a servicer or subservicer.

Il. SERVICING STANDARDS
3. Defendant shall comply with the Servicing Standards, attached hereto as Exhibit

A, in accordance with their terms and Section A of Exhibit D, attached hereto.

 

IV. FINANCIAL TERMS

4. Payments to Foreclosed Borrowers and Administration Costs. Ocwen shall pay
or cause to be paid the sum of $127.3 million (the “Borrower Payment Amount”) into an interest
bearing escrow account established for this purpose by the State members of the Monitoring
Committee within 10 days of receiving notice from the State members of the Monitoring
Committee that the account is established. The State members of the Monitoring Committee and
the Administrator appointed under Exhibit B will use the funds in this account to provide cash
payments to borrowers whose homes were sold in a foreclosure sale between and including
January 1, 2009, and December 31, 2012, and who otherwise meet criteria set forth by the
Monitoring Committee, and to pay the reasonable costs and expenses of the Administrator,
including taxes and fees for tax counsel, if any. Ocwen shall also pay or cause to be paid any

additional amounts necessary to pay claims, if any, of borrowers whose data is provided to the

Administrator by Ocwen after Defendant warrants that the data is complete and accurate pursuant

 

 

 
 

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to Paragraph 3 of Exhibit B. The Borrower Payment Amount shall be administered in
accordance with the terms set forth in Exhibit B.

5. Consumer Relief. Defendant shall provide $2 billion of relief to consumers who
meet the eligibility criteria in the forms and amounts described in Exhibit C, to remediate harms
allegedly caused by the alleged unlawful conduct of Defendant. Defendant shall receive credit
towards such obligation as described in Exhibit C.

V. ENFORCEMENT

6. The Servicing Standards and Consumer Relief Requirements, attached as Exhibits
A and C, are incorporated herein as the judgment of this Court and shall be enforced in
accordance with the authorities provided in the Enforcement Terms, attached hereto as Exhibit

D.

 

7. The Parties agree that Joseph A. Smith, Jr. shall be the Monitor and shall have the
authorities and perform the duties described in the Enforcement Terms.

8. Within fifteen (15) days of the Effective Date of this Consent Judgment, the
Plaintiffs shall designate an Administration and Monitoring Committee (the “Monitoring
Committee’) as described in the Enforcement Terms. The Monitoring Committee shall serve as
the representative of the Plaintiffs in the administration of all aspects of this Consent Judgment
and the monitoring of compliance with it by the Defendant.

VI. RELEASES

9. The CFPB and Defendant have agreed, in consideration for the terms provided

herein, for the release of certain claims and remedies as provided in the CFPB Release, attached

hereto as Exhibit E. CFPB and Defendant have also agreed that certain claims and remedies are

 

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not released, as provided in Paragraph C of Exhibit E. The releases contained in Exhibit E shall
become effective upon payment of the Borrower Payment Amount by Defendant.

10. The Plaintiff States and Defendant have agreed, in consideration for the terms
provided herein, for the release of certain claims and remedies as provided in the State Release,
attached hereto as Exhibit F. The Plaintiff States and Defendant have also agreed that certain
claims and remedies are not released, as provided in Section IV of Exhibit F. The releases
contained in Exhibit F shall become effective upon payment of the Borrower Payment Amount
by Defendant.

VII. OTHER TERMS

 

11. The Consumer Financial Protection Bureau and any State Party may withdraw
from the Consent Judgment and declare it null and void with respect to that party if Ocwen fails
to make any payment required under this Consent Judgment and such non-payment is not cured
within thirty (30) days of written notice by the party, except that the Released Parties, as defined
in Exhibits E and F, other than Ocwen, are released upon the payment of the Borrower Payment
Amount, at which time this nullification provision is only operative against Ocwen.

12. This Court retains jurisdiction for the duration of this Consent Judgment to
enforce its terms. The parties may jointly seek to modify the terms of this Consent Judgment,
subject to the approval of this Court. This Consent Judgment may be modified only by order of
this Court.

13. In addition to the provisions of paragraph 12, and in accordance with the terms set
forth in Exhibit D, any Plaintiff State may also bring an action to enforce the terms of this
Consent Judgment in the enforcing Plaintiff's state court. Ocwen agrees to submit to the

jurisdiction of any such state court for purposes of a Plaintiff State’s enforcement action.

 

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14. The Effective Date of this Consent Judgment shall be the date on which the
Consent Judgment has been entered by the Court and has become final and non-appealable. An
order entering the Consent Judgment shall be deemed final and non-appealable for this purpose if
there is no party with a right to appeal the order on the day it is entered.

15. | This Consent Judgment shall remain in full force and effect for three years from
the date it is entered (“the Term”), at which time Defendant’s obligations under the Consent
Judgment shall expire, except that pursuant to Exhibit D, Defendant shall submit a final
Quarterly Report for the last quarter or portion thereof falling within the Term and cooperate
with the Monitor’s review of said report, which shall conclude no later than six months after the
end of the Term. Defendant shall have no further obligations under this Consent Judgment six
months after the expiration of the Term, but the Court shall retain jurisdiction for purposes of
enforcing or remedying any outstanding violations that are identified in the final Monitor Report
and that have occurred but not been cured during the Term. The expiration of this Consent

Judgment shall not affect any Releases.

 

16. Each party to this litigation will bear its own costs and attorneys’ fees.

17. Nothing in this Consent Judgment shall relieve Defendant of its obligation to
comply with applicable state and federal law.

18. The sum and substance of the parties’ agreement and of this Consent Judgment
are reflected herein and in the Exhibits attached hereto. In the event of a conflict between the
terms of the Exhibits and paragraphs 1-17 of this summary document, the terms of the Exhibits

shall govern.

 
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UNITED states DISTRICT JUDGE

SO ORDERED this LU pies of

 

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Date: $4 !9 | V3

For the Consumer Financial Protection Bureau

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Case 1:13-cv-02025-RMC Document 12 Filed 02/26/14 Page 24 of 65

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Date: December 12, 2013

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Case 1:13-cv-02025-RMC Document12 Filed 02/26/14 Page 41 of 65

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Case 1:13-cv-02025-RMC Document 12 Filed 02/26/14 Page 45 of 65

Date 12/13/73

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December 10, 2013

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Case 1:13-cv-02025-RMC Document 12 Filed 02/26/14 Page 47 of 65

December 1, 2013

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Case 1:13-cv-02025-RMC Document 12 Filed 02/26/14 Page 48 of 65

Date December lo, 2013

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Date: December 11, 2013

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Case 1:13-cv-02025-RMC Document 12 Filed 02/26/14 Page 52 of 65

December 13, 2013

For the State of Rhode Island: _

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Case 1:13-cv-02025-RMC Document 12 Filed 02/26/14 Page 53 of 65

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Date: December 10, 2013
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Case 1:13-cv-02025-RMC Document 12 Filed 02/26/14 Page 55 of 65

Date:

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Date _ December 13. 2013

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Case 1:13-cv-02025-RMC Document 12 Filed 02/26/14 Page 57 of 65

Date December 16, 2013

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Date 7¢/ fi)

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Date De A£rnb er Va, 2013

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Date 12/13/2013

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Case 1:13-cv-02025-RMC Document 12 Filed 02/26/14 Page 62 of 65

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Case 1:13-cv-02025-RMC Document12 Filed 02/26/14 Page 64 of 65

 

Dated: December 11, 2013
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